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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SEBASTIAN GORKA,

                               Plaintiff,
                                                    Case No.: 1:22-cv-00017-RDM
 v.

 BENNIE G. THOMPSON, in his
 official capacity as Chairman of the
 House Select Committee to
 Investigate the January 6 Attack on
 the United States Capitol, et al.,


                             Defendants.


      STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
                             41(a)(1)(A)(ii)

       WHEREAS, Plaintiff Sebastian Gorka (“Plaintiff”) commenced this action to seek

judicial intervention regarding certain subpoenas Defendant Select Committee to Investigate the

January 6th Attack on the United States Capitol (the “Committee”) issued to Defendant Verizon

Communications, Inc. (“Verizon”) regarding Plaintiff’s cell phone records; and

       WHEREAS, the Committees’ subpoenas to Verizon regarding Plaintiff’s cell phone

records have been withdrawn.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and between

Plaintiff, Defendant Bennie G. Thompson, in his official capacity as the Chairman of the House

Select Committee to Investigate the January 6 Attack on the United States Capitol, the

Committee, and Verizon, that the above-captioned action, as set forth in Plaintiff’s Complaint

(ECF No. 1), is voluntarily dismissed without prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii).



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Dated: December 6, 2022                          Respectfully submitted,


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                                                  Counsel for Defendants Bennie G.
                                                 Thompson, in his official capacity as the
                                                 Chairman of the House Select Committee to
                                                 Investigate the January 6 Attack on the United
                                                 States Capitol; and the Select Committee to
                                                 Investigate the January 6th Attack on the
                                                 United States Capitol




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the date listed below, all registered counsel were

served with a copy of the foregoing document via the U.S. District Court, District of Columbia’s

CM/ECF.

Dated: December 6, 2022


                                                    /s/ David A. Warrington
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